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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )     Case No. 21-cr-00195-CKK
                                      )
SALVADOR SANDOVAL, JR.                )
                                      )
                                      )
                  Defendant           )
                                      )

                         APPEARANCE OF COUNSEL

To:   The clerk of court and all parties of record

     I am admitted or otherwise authorized to practice in this court, and I
appear in this case as counsel for:

Defendant Salvador Sandoval, Jr.



Dated: February 27, 2023                    Respectfully Submitted,

                                            /s/ William L. Shipley
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